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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                      IN THE UNITED STATES DISTRICT COURT                            December 06, 2023
                      FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                HOUSTON DIVISION


LEDGE LOUNGER, INC.,                        §
                                            §
        Plaintiff,                          §
                                            §
v.                                          §       Civil Action No. 4:23-cv-04258
                                            §
GLOBAL LIFT CORP.,                          §
d/b/a GLOBAL POOL PRODUCTS,                 §
                                            §
        Defendant.                          §

      ORDER GRANTING DEFENDANT, GLOBAL LIFT CORP., d/b/a GLOBAL POOL
       PRODUCTS’ UNOPPOSED FIRST MOTION FOR EXTENSION OF TIME TO
     ANSWER OR OTHERWISE RESPOND TO PLAINTIFF LEDGE LOUNGER, INC.’S
                              COMPLAINT

        On this day came on to be considered Defendant GLOBAL LIFT CORP., d/b/a GLOBAL

POOL PRODUCTS’ (“Global Pool” or “Defendant”) Unopposed First Motion for Extension of

Time to Answer or Otherwise Respond to Plaintiff LEDGE LOUNGER, INC.’s (“Ledge Lounger”

or “Plaintiff”) Complaint and the Court having now reviewed said motion and having noted that

the relief requested therein is unopposed by Plaintiff; the Court hereby GRANTS the motion. It is

therefore,

        ORDERED that the deadline for Defendant to answer or otherwise respond to Plaintiff’s

Complaint is hereby extended up to and including December 20, 2023.



        SIGNED this ____
                     5th day of ________________,
                                    December      2023.



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                                             ___________
                                                      _ ________________
                                                                      ______
                                            HON. GEORG
                                            HON  GEORGE
                                                     R EC C. HANKS
                                                             HANKS, JR
                                                                    JR.
                                            UNITED STATES DISTRICT JUDGE
